     Case: 2:00-cr-00094-SA-DAS Doc #: 405 Filed: 04/29/15 1 of 2 PageID #: 1626




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


MACK ARTHUR BOWENS                                                                          MOVANT

v.                                                                            No. 2:00CR94-SA-DAS

UNITED STATES OF AMERICA                                                              RESPONDENT


                           ORDER TRANSFERRING CASE TO THE
                            FIFTH CIRCUIT COURT OF APPEALS

        This matter comes before the court on the pro se petitioner's re-submission of his request

for habeas corpus relief under 28 U.S.C. § 2255. This is at least the second motion under § 2255

the Movant has filed; to overcome the prohibition against the filing of a second or successive

petition under § 2255(h), the petitioner must show that his motion contains:

        1. newly discovered evidence that, if proven and viewed in the light of evidence as a
           whole, would be sufficient to establish by clear and convincing evidence that no
           reasonable factfinder would have found the movant guilty of the offense, or

        2. a new rule of constitutional law, made retroactive to cases on collateral review by
           the Supreme Court, that was previously unavailable.

See 28 U.S.C. §§ 2244(b)(1) - (2) and 2255(h). That decision must be made by the court of

appeals. See §§ 2244(b)(3) and 2255. Until such time that the Movant obtains authorization to

proceed from the Fifth Circuit, this court is without jurisdiction to proceed. Rather than

dismissing the petition on this basis, the Fifth Circuit permits district courts to transfer the petition

for consideration under 28 U.S.C. § 2244(a) and (b)(3)(c). See In re Epps, 127 F.3d 364, 365 (5th

Cir. 1997).
    Case: 2:00-cr-00094-SA-DAS Doc #: 405 Filed: 04/29/15 2 of 2 PageID #: 1627




       Therefore, in the interest of justice and judicial economy, it is hereby ORDERED:

       1) That this petition will be transferred to the Fifth Circuit Court of Appeals for the

petitioner to seek permission to file this successive § 2255 motion;

       2) That the Clerk of Court is directed to transfer this petition and the entire record to the

Fifth Circuit Court of Appeals in accordance with §§ 2244(b)(3) and 2255 and In re Epps, 127

F.3d at 365; and

       3) That this case is CLOSED.


       SO ORDERED, this, the 29th day of April, 2015.


                                                       /s/ Sharion Aycock_________
                                                      U.S. DISTRICT JUDGE




                                                -2-
